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10                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
11                                OAKLAND DIVISION
12
      DEFENSE FOR CHILDREN                             No. 4:23-cv-05829-JSW
13
      INTERNATIONAL – PALESTINE; AL-
      HAQ; AHMED ABU ARTEMA;
14
      MOHAMMED AHMED ABU ROKBEH;                       DEFENDANTS’ NOTICE OF
      MOHAMMAD HERZALLAH; A.N.;                        MOTION, MOTION TO DISMISS,
15
      LAILA ELHADDAD; WAEIL ELBHASSI;                  AND MEMORANDUM OF POINTS
      BASIM ELKARRA; and DR. OMAR EL-                  AND AUTHORITIES IN SUPPORT
16
      NAJJAR,                                          THEREOF AND IN OPPOSITION TO
                                                       PLAINTIFFS’ MOTION FOR
17
                    Plaintiffs,                        PRELIMINARY INJUNCTION
18
                            v.                         Hearing: January 26, 2024 at 9:00 am
19
      JOSEPH R. BIDEN, Jr., President of the
      United States; ANTHONY J. BLINKEN,               Honorable Jeffrey S. White
20
      United States Secretary of State; LLOYD          United States District Judge
      JAMES AUSTIN III United States Secretary
21
      of Defense, in their official capacities,
22
                    Defendants.
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1                                         NOTICE OF MOTION
2           Please take notice that on January 26, 2024, at 9 a.m., Defendants Joseph R. Biden, Jr.,
3    President; Antony J. Blinken, Secretary of State; and Lloyd James Austin, III, in their official
4    capacities, will and hereby do move the Court to dismiss this action.
5                                         MOTION TO DISMISS
6           Defendants move to dismiss this action for lack of subject matter jurisdiction under Rule
7    12(b)(1) of the Federal Rules of Civil Procedure and for failure to state a claim under Rule
8    12(b)(6) for the reasons set forth in the following Memorandum of Points and Authorities.
9                                              *       *       *
10     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
11     DISMISS AND IN OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
12          Plaintiffs—Palestinian advocacy organizations based in Ramallah, Palestinian residents of
13   the Gaza Strip, and U.S. citizens with relatives in Gaza—sued pursuant to the Convention on the
14   Prevention and Punishment of the Crime of Genocide (“Genocide Convention”), Dec. 9, 1948, 78
15   U.N.T.S. 277, and its implementing criminal legislation, 18 U.S.C. §§ 1091 et seq. They seek a
16   mandatory injunction compelling the President and the Secretaries of State and Defense to take all
17   measures within their power to prevent Israel from purportedly committing genocide against the
18   Palestinian people in Gaza. They also seek to enjoin any further U.S. military or financial
19   assistance to Israel, including any diplomatic support for Israel in the international community.
20   Plaintiffs have also moved for a preliminary injunction, seeking part of the ultimate relief requested
21   in the Complaint—the halting of aid to Israel.
22          This Court should dismiss the Complaint and deny the preliminary injunction motion for
23   three independent reasons: (1) this suit presents a quintessential nonjusticiable political question,
24   (2) Plaintiffs cannot meet the Article III standing requirements, and (3) neither the Genocide
25   Convention nor its implementing criminal statute creates a private right of action.
26          Since Hamas’s October 7, 2023 terrorist attack on Israel, the President and the Secretaries
27   of State and Defense have been working to mitigate the humanitarian crisis unfolding in Gaza, to
28   prevent the escalation of the armed conflict between Israel and Hamas into a broader regional
     DEFS.’ NOTICE OF MOTION, MOTION TO DISMISS, AND MEM. IN SUPPORT AND OPP’N TO PLS.’ MOT.
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1    conflict, and to support Israel’s right to defend itself. These diplomatic efforts helped lead to a
2    seven-day pause in the fighting that permitted more humanitarian aid to flow into Gaza and saw
3    the release of some hostages, including U.S. nationals. Although the pause has ended, intense
4    diplomatic efforts are ongoing. Plaintiffs seek to have the Court override the Executive Branch’s
5    foreign policy and national security determinations. But decisions about whether and how to
6    attempt to influence foreign nations, and whether and how to provide them military assistance,
7    financial assistance, or other support, are constitutionally committed to the political branches of
8    the Government. Plaintiffs’ suit thus presents a nonjusticiable political question, and this Court
9    has no subject matter jurisdiction to proceed. See Republic of Marshall Islands v. United States,
10   865 F.3d 1187 (9th Cir. 2017); Corrie v. Caterpillar, Inc., 503 F.3d 974 (9th Cir. 2007).
11          Even if the political-question doctrine did not preclude judicial review here (which it does),
12   Plaintiffs still cannot overcome another jurisdictional hurdle—their lack of standing. Plaintiffs’
13   alleged injuries are the result of the military and other activities of an independent foreign
14   sovereign, Israel, over which this Court has no authority. There is no order that is within this
15   Court’s jurisdiction to fashion that could provide effective relief to Plaintiffs—namely, preventing
16   Israel from taking the sovereign actions it chooses to take to respond to the October 7th attack.
17   Plaintiffs therefore cannot meet the causation or redressability prongs of the standing requirements.
18          Beyond these jurisdictional bars, Plaintiffs fail to state a claim upon which relief can be
19   granted. Fed. R. Civ. P. 12(b)(6). Plaintiffs assert two claims under the Genocide Convention and
20   its implementing legislation, respectively: Count I, “Violation of the Duty to Prevent Genocide,”
21   and Count II, “Complicity in Genocide.” Plaintiffs also suffuse among those two purported causes
22   of action references to customary international law prohibiting genocide. However, “customary
23   international law is not a source of judicially enforceable private rights[.]” Serra v. Lappin, 600
24   F.3d 1191, 1197 (9th Cir. 2010). A treaty may in some cases provide a source of judicially
25   enforceable private rights if it is self-executing, but the Genocide Convention is not self-executing.
26   Instead of providing for enforcement under domestic law, Article V of the Convention requires
27   implementing legislation by the contracting parties to give effect to its provisions. Moreover, the
28   Genocide Convention Implementation Act, a criminal statute in Title 18 enforceable only by the
     DEFS.’ NOTICE OF MOTION, MOTION TO DISMISS, AND MEM. IN SUPPORT AND OPP’N TO PLS.’ MOT.
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1    federal government, affords Plaintiffs no relief because it explicitly provides that “[n]othing in this
2    chapter [i.e. Chapter 50A on Genocide] shall be construed as . . . creating any substantive or
3    procedural right enforceable by law by any party in any proceeding.” 18 U.S.C. § 1092. Thus,
4    the criminal statute is likewise not a source of private rights.
5           Finally, although the Court need not consider the preliminary injunction factors because
6    Plaintiffs’ claims fail as a matter of law, the balance of equities weighs overwhelmingly against
7    the issuance of a preliminary injunction. The Constitution squarely commits foreign policy and
8    national security decisions to the political branches of the Government. Plaintiffs, however, ask
9    the Court to override those decisions in violation of the constitutional separation of powers, which
10   is decidedly against the Government and public interest. Plaintiffs’ asserted harms are not
11   redressable by this Court, which further warrants the denial of Plaintiffs’ extraordinary request for
12   preliminary injunctive relief, even if the Court were not inclined to dismiss their Complaint.
13                                            BACKGROUND
14    I.    FACTUAL BACKGROUND
15          On October 7, 2023, Israel was attacked by Hamas. Since then, Israel has been mounting
16   a military campaign against Hamas in the Gaza Strip. The President, the Secretary of State, and
17   numerous other senior administration officials have been engaged in diplomatic discussions with
18   actors throughout the region regarding the conflict. The President has visited the region to
19   reinforce the United States’ support for Israel and the families of victims, including U.S. nationals
20   killed or taken hostage, while making clear that “[t]he United States unequivocally stands for the
21   protection of civilian life,” and emphasizing that “[t]he vast majority of Palestinians are not
22   Hamas.”1 Since his trip to Israel, the President has “been focused on accelerating the delivery of
23   humanitarian assistance to Gaza in coordination with the United Nations and the Red Cross.”2 The
24   President has also appointed a Special Envoy for Middle East Humanitarian Issues, who is leading
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     the Resilience of the State of Israel and Its People (Oct. 18, 2023), https://perma.cc/D7A9-RSBU.
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             The White House, Remarks by President Biden on the Release of Hostages from Gaza
28   (Nov. 24, 2023), https://perma.cc/UR4Z-EG8F.
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1    diplomatic efforts in the region to address the humanitarian crisis and facilitate the provision of
2    life-saving assistance to the most vulnerable people.3
3           In addition to U.S. commitments related to military assistance to Israel for 2019–2028 as
4    reflected in a Memorandum of Understanding signed in 2016, Compl. ¶ 168,4 the President has
5    also requested supplemental funding from Congress to strengthen Israel’s defense through
6    Department of State assistance, bolster the Israel Defense Forces through Department of Defense
7    assistance, ensure Israel’s air and missile defense systems’ readiness, enhance U.S. embassy
8    security, and extend humanitarian assistance to civilians impacted by the war in Israel and Gaza.5
9           Meanwhile, the Secretary of State has traveled to Israel, Jordan, Qatar, Bahrain, Saudi
10   Arabia, the United Arab Emirates, and Egypt to emphasize the United States’ “condemnation of
11   the terrorist attacks in Israel,” “reaffirm the United States’ solidarity with the government and
12   people of Israel,” and “engage regional partners on efforts to help prevent the conflict from
13   spreading, secure the immediate and safe release of hostages, and identify mechanisms for the
14   protection of civilians.”6 In another trip to Israel, Jordan, Ramallah, Iraq, and Turkey in early
15   November, the Secretary of State further “discussed urgent mechanisms to stem violence, calm
16   rhetoric, reduce regional tensions, and reaffirm the U.S. commitment to working with partners to
17   set the conditions necessary for a durable and sustainable peace in the Middle East, to include the
18   establishment of a Palestinian state.”7 And in his most recent trip towards the end of the seven-
19   day humanitarian pause in the fighting—which the United States helped secure through close talks
20   with Israel, Qatar, and Egypt—the Secretary met with the Israeli Prime Minister to reaffirm U.S.
21          3
            U.S. Dep’t of State, Appointment of David Satterfield as Special Envoy for Middle East
22   Humanitarian Issues (Oct. 15, 2023), https://perma.cc/C2LA-7YUF.
            4
23             In the William M. (Mac) Thornberry National Defense Authorization Act for Fiscal Year
     2021, Pub. L. No. 116-283, § 1273, 134 Stat. 3388, 3979, Congress authorized “not less” than $3.3
24   billion in annual military aid to Israel through 2028.
            5
25
              The White House, FACT SHEET: White House Calls on Congress to Advance Critical
     National Security Priorities (Oct. 20, 2023), https://perma.cc/B8AJ-V4LC.
26          6
              U.S. Dep’t of State, Secretary Blinken’s Travel to Israel, Jordan, Qatar, Bahrain, Saudi
     Arabia, the United Arab Emirates, and Egypt (Oct. 12, 2023), https://perma.cc/275U-6FSC.
27
            7
              U.S. Dep’t of State, Travel to Tel Aviv, Amman, Ramallah, Baghdad, Ankara, Tokyo,
28   Seoul, and New Delhi, November 2–10, 2023, https://perma.cc/HRV9-LHYU.
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1    support for Israel’s right to protect itself while complying with international humanitarian law,
2    stress the imperative of accounting for humanitarian and civilian protection needs in southern
3    Gaza, and discuss the need to accelerate the delivery of critical, life-saving humanitarian assistance
4    to Gaza.8
5           At the same time, the Secretary of Defense has ordered the movement of U.S. forces to the
6    Middle East region to “bolster regional deterrence efforts, increase force protection for U.S. forces
7    in the region, and assist in the defense of Israel,”9 while also expressing to Israeli military leaders
8    “the need to prioritize civilian safety in military operations . . . and urg[ing] continued progress to
9    increase assistance to civilians in Gaza.”10
10          While the humanitarian pause has ended, the United States has not “stopped [its] efforts . .
11   . trying to work hour by hour to see if [it] can get [the humanitarian] pause reinstated[,] . . . get
12   those hostages out,” and increase the delivery of “humanitarian assistance.”11 The United States
13   has also reiterated its expectations that security assistance is “going to be used in keeping with
14   [the] law of armed conflict.”12
15   II.    PLAINTIFFS’ COMPLAINT AND THE PRELIMINARY INJUNCTION MOTION
16          On November 13, 2023, Plaintiffs filed this suit seeking to compel the President and
17   Secretaries of Defense and State to “take all measures within their power to prevent Israel’s
18   commission of [allegedly] genocidal acts against the Palestinian people of Gaza.” Compl. at
19

20          8
               U.S. Dep’t of State, Secretary Blinken’s Meeting with Israeli Prime Minister Netanyahu
21   (Nov. 30, 2023), https://perma.cc/M33P-3CHF. See also U.S. Dep’t of State, Secretary Antony J.
     Blinken at a Press Availability (Nov. 30, 2023), https://perma.cc/R4T8-7ZSC (“Israel has the right
22   to do everything it can to ensure that the slaughter Hamas carried out . . . can never be repeated,”
     but “[i]t’s imperative that Israel act in accordance with international humanitarian law and the laws
23   of war, even when confronting a terrorist group that respects neither”).
            9
24            U.S. Dep’t of Defense, Statement from Secretary of Defense Lloyd J. Austin III on Steps
     to Increase Force Posture (Oct. 21, 2023), https://perma.cc/S9VA-VMYD.
25          10
               U.S. Dep’t of Defense, Readout of Secretary of Defense Lloyd J. Austin III’s Call with
26   Israeli Minister of Defense Yoav Gallant (Oct. 31, 2023), https://perma.cc/AW85-ZGPR.
            11
               CBS News, Transcript: John Kirby on “Face the Nation,” Dec. 3, 2023, Face the Nation
27
     (Dec. 3, 2023), https://perma.cc/JY23-Y7TX.
28          12
                 Id.
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1    Prayer for Relief, ECF No. 1. Count I of the Complaint alleges that Defendants violated their duty
2    under Article I of the Genocide Convention13 by supporting Israel’s military actions against Hamas
3    in Gaza. Id. ¶¶ 313-21. Count II alleges that Defendants, by providing diplomatic, financial, and
4    military support to Israel, are complicit in Israel’s purported commission of genocide, in violation
5    of Article III(e) of the Genocide Convention14 and its implementing legislation, the Genocide
6    Convention Implementation Act, 18 U.S.C. § 1091, which makes genocide a federal crime.
7    Compl. ¶¶ 322-40. Plaintiffs seek an order declaring that Defendants have violated “customary
8    international law, [purportedly] as part of federal common law,” and requiring Defendants to, inter
9    alia, “exert influence over Israel to end its bombing of the Palestinian people of Gaza, . . . to lift
10   the siege on Gaza, . . . [and to] prevent the ‘evacuation’ or forcible transfer and expulsion of
11   Palestinians from Gaza.” Id. at Prayer for Relief. Plaintiffs also seek an order enjoining
12   Defendants from providing further military or financial assistance to Israel and “from obstructing
13   attempts by the international community, including at the United Nations, to implement a ceasefire
14   in Gaza and lift the siege on Gaza.” Id.
15          On November 16, 2023, Plaintiffs filed a motion for preliminary injunction seeking to
16   halt all U.S. “military or financial support, aid, or any form of assistance” to Israel’s response to
17   Hamas’s October 7th attack. Notice of Mot. & Mot. for Prelim. Inj.; Mem. of P. & A. in Supp.
18   Thereof at 1, ECF No. 19 (“PI Br.”).
19                                              ARGUMENT
20   I.     LEGAL STANDARDS
21          A preliminary injunction is “an extraordinary and drastic remedy, one that should not be
22   granted unless the movant, by a clear showing, carries the burden of persuasion.” Mazurek v.
23   Armstrong, 520 U.S. 968, 972 (1997) (citation omitted). To satisfy this standard, a plaintiff must
24   establish that he or she is likely to succeed on the merits, likely to suffer irreparable harm in the
25
            13
              Article I of the Convention states that “[t]he Contracting Parties confirm that genocide,
26   whether committed in time of peace or in time of war, is a crime under international law which
     they undertake to prevent and to punish.” Genocide Convention, art. 1, 78 U.N.T.S. at 280.
27
            14
              Article III of the Convention states that “[t]he following acts shall be punishable: . . . (e)
28   Complicity in genocide.” Id. art. III(e), 78 U.N.T.S. at 280.
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1    absence of preliminary relief, that the balance of equities tips in his or her favor, and that an
2    injunction is in the public interest. Am. Beverage Ass’n v. City & Cnty. of San Francisco, 916 F.3d
3    749, 754 (9th Cir. 2019) (en banc) (citing Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20
4    (2008)). “The first factor under Winter is the most important,” such that the Court need not
5    consider the remaining factors if a plaintiff fails to show a likelihood of success on the merits.
6    Garcia v. Google, Inc., 786 F.3d 733, 740 (9th Cir. 2015) (en banc).
7           Moreover, where “a party seeks mandatory preliminary relief that goes well beyond
8    maintaining the status quo pendente lite, courts should be extremely cautious about issuing a
9    preliminary injunction.” Martin v. Int’l Olympic Comm., 740 F.2d 670, 675 (9th Cir. 1984). For
10   mandatory preliminary relief, a plaintiff must show that the law and facts clearly favor his or her
11   position. Garcia, 786 F.3d at 740. Further, “courts have been reluctant to grant an affirmative
12   injunction where the effect would be to grant final relief before the claims are adjudicated.” Eagle
13   Broadband, Inc. v. Transcon. Props., Inc., No. 2:05-CV-1525, 2006 WL 8441642, at *2 (D. Nev.
14   Apr. 4, 2006); Tanner Motor Livery, Ltd. v. Avis, Inc., 316 F.2d 804, 808 (9th Cir. 1963) (“[I]t is
15   not usually proper to grant the moving party the full relief to which he might be entitled if
16   successful at the conclusion of a trial.”); Sims v. Stuart, 291 F. 707, 707-08 (S.D.N.Y. 1922)
17   (Learned Hand, J.) (explaining that while equity “will at times affirmatively restore the status quo
18   ante pending the suit,” it will not, “[u]nder the guise of a mandatory injunction,” “take jurisdiction
19   over a legal claim merely to hurry it along by granting final relief at the outset of the cause”).
20          “To survive a motion to dismiss, a complaint must contain sufficient factual matter,
21   accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556
22   U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). In reviewing
23   a motion to dismiss, the court considers “the complaint in its entirety, as well as . . . documents
24   incorporated into the complaint by reference, and matters of which a court may take judicial
25   notice.” Tellabs, Inc. v. Makor Issues & Rts., Ltd., 551 U.S. 308, 322 (2007).15 The court accepts
26
            15
              In considering the Government’s motion to dismiss, the Court may take judicial notice
27
     of government officials’ public statements. See Saldana v. Occidental Petroleum Corp., 774 F.3d
28   544, 551 n.1 (9th Cir. 2014) (taking judicial notice of government presentations to Congress); see

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1    the factual allegations as true but “bare assertions” and “conclusory” allegations are “not entitled
2    to be assumed true.” Iqbal, 556 U.S. at 678, 681. The court applies this standard both when
3    analyzing whether the Complaint alleges facts sufficient to establish subject matter jurisdiction
4    and when analyzing whether the Complaint states a valid claim for relief. See, e.g., Terenkian v.
5    Republic of Iraq, 694 F.3d 1122, 1131 (9th Cir. 2012).
6    II.    THE COURT LACKS JURISDICTION OVER THIS MATTER
7           A.      Plaintiffs’ Claims Raise A Nonjusticiable Political Question
8           This Court lacks authority to decide the current dispute because “‘a determination of
9    whether foreign aid to Israel is necessary at this particular time is’ . . . inappropriate for judicial
10   resolution.” Corrie v. Caterpillar, Inc., 503 F.3d 974, 980 (9th Cir. 2007) (quoting Dickson v.
11   Ford, 521 F.2d 234, 236 (5th Cir. 1975)); see also Abusharar v. Hagel, 77 F. Supp. 3d 1005, 1006
12   (C.D. Cal. 2014) (“[T]he decision to provide military [or financial] support to a foreign nation is a
13   quintessential political question.”). “The political question doctrine first found expression in Chief
14   Justice Marshall’s observation that ‘[q]uestions, in their nature political, or which are, by the
15   constitution and laws, submitted to the executive, can never be made in this court.’” Caterpillar,
16   503 F.3d at 980 (quoting Marbury v. Madison, 5 U.S. (1 Cranch) 137, 170 (1803)); see also El-
17   Shifa Pharm. Indus. Co. v. United States, 607 F.3d 836, 840 (D.C. Cir. 2010) (en banc) (the
18   doctrine recognizes that “some ‘[q]uestions, in their nature political,’ are beyond the power of the
19   courts to resolve” (quoting Marbury, 5 U.S. at 170)). “The Supreme Court has since explained
20   that ‘[t]he nonjusticiability of a political question is primarily a function of the separation of
21   powers.’” Caterpillar, 503 F.3d at 980 (quoting Baker v. Carr, 369 U.S. 186, 211 (1962)).
22   Accordingly, the doctrine “excludes from judicial review those controversies which revolve
23   around policy choices and value determinations constitutionally committed for resolution to the
24   halls of Congress or the confines of the Executive Branch.” Japan Whaling Ass’n v. Am. Cetacean
25   Soc’y, 478 U.S. 221, 230 (1986).
26

27   also Matar v. Dichter, 500 F. Supp. 2d 284, 294 n.4 (S.D.N.Y. 2007) (“For purposes of the political
     question inquiry, the Court may take judicial notice of the ‘official policy and opinion’ of the
28   United States and Israel.” (citation omitted)), aff’d, 563 F.3d 9 (2d Cir. 2009).
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1            In Baker v. Carr, the Supreme Court identified six factors to determine whether a case
2    presents a political question:
3            [1] a textually demonstrable constitutional commitment of the issue to a coordinate
             political department; or [2] a lack of judicially discoverable and manageable
4            standards for resolving it; or [3] the impossibility of deciding without an initial
             policy determination of a kind clearly for nonjudicial discretion; or [4] the
5            impossibility of a court’s undertaking independent resolution without expressing
             lack of the respect due coordinate branches of government; or [5] an unusual need
6            for unquestioning adherence to a political decision already made; or [6] the
             potentiality of embarrassment from multifarious pronouncements by various
7            departments on one question.
8    369 U.S. at 217. “[T]o find a political question, [the Court] need only conclude that one factor is
9    present, not all.” Republic of Marshall Islands, 865 F.3d at 1200 (quoting Schneider v. Kissinger,
10   412 F.3d 190, 194 (D.C. Cir. 2005)); see also Zivotofsky v. Clinton, 566 U.S. 189, 195 (2012)
11   (discussing only the first two Baker factors).
12           Plaintiffs’ requested relief plainly implicates matters that are textually committed to the
13   political branches of the Government. Plaintiffs seek an order compelling Defendants to “take all
14   measures within their power” to prevent Israel from committing what Plaintiffs characterize as
15   “genocide against the Palestinian people of Gaza.” Compl. at Prayer for Relief. Plaintiffs also
16   attempt to invoke the power of this Court to require the Executive Branch to “exert influence over
17   Israel” to end Israel’s bombing in Gaza, to “lift the siege on Gaza,” and to “prevent the [purported]
18   ‘evacuation’ or forcible transfer and expulsion of Palestinians from Gaza.” Id. And Plaintiffs ask
19   for an injunction to stop Defendants from providing military or financial assistance to Israel, or
20   the sale or delivery of weapons and arms. Id. These are matters “intimately related to foreign
21   policy and national security,” Haig v. Agee, 453 U.S. 280, 292 (1981), and thus are “largely
22   immune from judicial inquiry or interference,” Harisiades v. Shaughnessy, 342 U.S. 580, 589
23   (1952).16
24
             16
25              See also Haig, 453 U.S. at 292 (foreign policy and national security matters are “rarely
     proper subjects for judicial intervention”); Chi. & S. Air Lines, Inc. v. Waterman S.S. Corp., 333
26   U.S. 103, 111 (1948) (“[T]he very nature of executive decisions as to foreign policy is political,
     not judicial. . . . They are decisions of a kind for which the Judiciary has neither aptitude, facilities
27
     nor responsibility and have long been held to belong in the domain of political power not subject
28   to judicial intrusion or inquiry.”); Luftig v. McNamara, 373 F.2d 664, 665-66 (D.C. Cir. 1967) (“It

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1            “The conduct of the foreign relations of our government is committed by the Constitution
2    to the executive and legislative—‘the political’—departments of the government.” Oetjen v. Cent.
3    Leather Co., 246 U.S. 297, 302 (1918); accord Republic of Marshall Islands, 865 F.3d at 1200-
4    01. It has long been recognized that “[t]he President is the sole organ of the nation in its external
5    relations, and its sole representative with foreign nations.” United States v. Curtiss-Wright Exp.
6    Corp., 299 U.S. 304, 319 (1936) (citation omitted); see also Am. Ins. Ass’n v. Garamendi, 539
7    U.S. 396, 414 (2003) (“historical gloss on the ‘executive Power’ vested in Article II of the
8    Constitution has recognized the President’s ‘vast share of responsibility for the conduct of our
9    foreign relations’” (citation omitted)).    “[T]he Constitution plainly grants the President the
10   initiative in matters directly involved in the conduct of diplomatic affairs.” Earth Island Inst. v.
11   Christopher, 6 F.3d 648, 653 (9th Cir. 1993) (citation omitted); see also Jensen v. Nat’l Marine
12   Fisheries Serv. (NOAA), 512 F.2d 1189, 1191 (9th Cir. 1975) (similar). When diplomacy fails, it
13   is also the President who has the constitutionally vested authority as Commander in Chief to deploy
14   our military. See U.S. Const. art. II, § 2, cl. 1; Chi. & S. Air Lines, 333 U.S. at 109–10. To address
15   Plaintiffs’ claims here, therefore, would contravene the political question doctrine, straying far
16   beyond the “familiar judicial exercise” of how a statute should be interpreted or whether it is
17   constitutional. Zivotofsky, 566 U.S. at 196.
18           The Court of Appeals’ decision in Corrie v. Caterpillar, Inc., 503 F.3d 974 (9th Cir. 2007),
19   is dispositive here. There, the plaintiffs’ family members were killed or injured when the Israel
20   Defense Forces (“IDF”) allegedly demolished their homes in the Palestinian Territories using
21   bulldozers manufactured by Caterpillar, Inc., a U.S. corporation, and paid for by the United States.
22   Id. at 977-78. The plaintiffs sued Caterpillar, raising state and federal law claims and alleging that
23   Caterpillar knew its equipment would be used in violation of international law, and thus aided and
24   abetted those violations. Id. at 979. The plaintiffs sought to enjoin further sales, among other
25   relief. Id.
26

27
     is difficult to think of an area less suited for judicial action than . . . the use and disposition of
28   military power; these matters are plainly the exclusive province of Congress and the Executive.”).
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1           The court found the case presented a nonjusticiable political question as resolving it would
2    require the court to “examine the United States government’s role in financing the IDF’s purchases
3    of . . . [the] bulldozers.” Id. But “these sales were financed by the executive branch pursuant to a
4    congressionally enacted program calling for executive discretion as to what lies in the foreign
5    policy and national security interests of the United States.” Id. at 982. To allow the action to
6    proceed, the court said, “would necessarily require the judicial branch of our government to
7    question the political branches’ decision to grant extensive military aid to Israel.” Id. The matter
8    thus failed the first Baker factor because, as the court reasoned, the judiciary “cannot intrude into
9    our government’s decision to grant military assistance to Israel”—“that foreign policy decision is
10   committed under the Constitution to the legislative and executive branches.” Caterpillar, 503 F.3d
11   at 983. The court further noted that a ruling in the plaintiffs’ favor would implicate several of the
12   other Baker factors. For example, it would require the court to “implicitly question[], and even
13   condemn[], United States foreign policy toward Israel,” and to “potential[ly] . . . caus[e]
14   international embarrassment” if the court were to “undermine foreign policy decisions in the
15   sensitive context of the Israeli-Palestinian conflict.” Caterpillar, 503 F.3d at 983-84. Further, the
16   court was sensitive to the State Department’s imperative to “choose [its] words carefully,” and
17   recognized that entering “a declaration that the IDF has systematically committed grave violations
18   of international law” would “subvert United States foreign policy.” Id. at 984. The Caterpillar
19   court’s analysis applies with even greater force here, as that case raised only an “indirect[]”
20   challenge to the Government’s foreign policy, id., whereas this case raises a direct one.
21          Also instructive is the Court of Appeals’ decision in Republic of Marshall Islands v. United
22   States, a case involving the United States’ alleged breach of the Treaty on the Non–Proliferation
23   of Nuclear Weapons, which “calls on each party to the Treaty ‘to pursue negotiations in good faith
24   on effective measures’ to end the nuclear arms race and accomplish nuclear disarmament.” 865
25   F.3d at 1190 (citation omitted). In addition to finding the treaty to be non-self-executing and
26   plaintiffs’ asserted injuries not redressable, the court held that the case presented a nonjusticiable
27   political question because, among other things, “the decision of when, where, whether, and how
28   the United States will negotiate with foreign nations to end the nuclear arms race and accomplish
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1    nuclear disarmament” is textually committed in the Constitution to a coordinate political
2    department. Id. at 1200. As the court reasoned, “[w]e simply cannot square the primacy of the
3    Executive in the conduct of foreign relations and the Executive Branch’s lead role in foreign
4    policy’ . . . with an injunction that compels the United States to ‘call[ ] for and conven[e]
5    negotiations for nuclear disarmament in all its aspects.’” Id. at 1201 (cleaned up). The same is
6    true of Plaintiffs’ request to compel the Executive Branch to “exert influence over Israel.” Compl.
7    at Prayer for Relief.
8           Not only is judicial review of Plaintiffs’ claims foreclosed by Caterpillar and Republic of
9    Marshall Islands, but numerous other courts also have found challenges to the United States’
10   financial and diplomatic support of Israel to be nonjusticiable. See Dickson, 521 F.2d at 236
11   (dismissing on political question grounds a challenge to a statute appropriating funds for military
12   assistance to Israel);17 Abusharar, 77 F. Supp. 3d at 1006 (dismissing on political question grounds
13   suit to enjoin the Secretaries of State and Defense from providing military support to Israel after
14   the plaintiff’s home in the Gaza Strip was allegedly destroyed in a bombing by the Israeli military);
15   Memorandum Op. at 15, John Doe I v. Israel, No. 1:02-cv-01431 (D.D.C. Oct. 3, 2003), ECF No.
16   42 (attached as Ex. A) (“claims involving arms sales to Israel—which occur pursuant to a sensitive
17   and detailed statutory and regulatory scheme inextricably intertwined with critical foreign policy
18   decisions—are nonjusticiable political questions better left to consideration by the political
19   branches”); Mahorner v. Bush, 224 F. Supp. 2d 48, 53 (D.D.C. 2002) (claim seeking to enjoin the
20   President and Treasury Secretary from providing financial aid to Israel presented nonjusticiable
21   political question), aff’d, 2003 WL 349713 (D.C. Cir. Feb. 12, 2003); cf. Bernstein v. Kerry, 962
22   F. Supp. 2d 122, 126 & n.6 (D.D.C. 2013) (dismissing challenge to U.S. funding of the Palestinian
23   Authority on standing grounds and because “this case is fraught with serious political questions
24   that deprive the Court of jurisdiction”), aff’d, 584 F. App’x 7 (D.C. Cir. 2014).
25
            17
26             Cf. Lamont v. Woods, 948 F.2d 825, 833 (2d Cir. 1991) (distinguishing Dickson on other
     grounds, but remarking that had the plaintiffs in Dickson “been successful, Congress’s foreign
27   policy goal—to maintain the balance of power in the Middle East and to preserve Israel’s capacity
     to defend herself—could not have been achieved. Effectively, then, the challenge in Dickson was
28   to the foreign policy itself” (citations omitted)).
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1            While “[i]t is hard to conceive of an issue more quintessentially political in nature than the
2    ongoing Israeli-Palestinian conflict,” Doe I v. State of Israel, 400 F. Supp. 2d 86, 111–12 (D.D.C.
3    2005), courts similarly have yielded to the political branches when addressing challenges to U.S.
4    military or other aid in other conflicts. See, e.g., Crockett v. Reagan, 558 F. Supp. 893, 899-900
5    (D.D.C. 1982) (dismissing challenge to military aid to El Salvador due to lack of standards to
6    assess nature of U.S. involvement there), aff’d, 720 F.2d 1355 (D.C. Cir. 1983); Sanchez-Espinoza
7    v. Reagan, 568 F. Supp. 596, 601 (D.D.C. 1983) (court lacks standards to assess U.S. actions in
8    Nicaragua), aff’d, 770 F.2d 202 (D.C. Cir. 1985); Aerotrade, Inc. v. U.S. Agency for Int’l Dev.
9    Dep’t of State, 387 F. Supp. 974, 975-77 (D.D.C. 1974) (dismissing action challenging aid to
10   Haiti); Holtzman v. Schlesinger, 484 F.2d 1307, 1311 (2d Cir. 1973) (challenge to U.S. bombing
11   and other military activities in Cambodia presented a political question); Sarnoff v. Connally, 457
12   F.2d 809, 809-10 (9th Cir. 1972) (affirming dismissal of challenge to the Vietnam War because
13   challenges to “foreign aid and appropriations aspects of congressional cooperation in [a military]
14   conflict . . . presents a political question”).
15           In sum, this case presents a political question, and “the presence of a
16   political question deprives a court of subject matter jurisdiction.” Caterpillar, 503 F.3d at 980;
17   see also Schlesinger v. Reservists Comm. to Stop the War, 418 U.S. 208, 215 (1974) (“[T]he
18   concept of justiciability, which expresses the jurisdictional limitations imposed upon federal courts
19   by the ‘case or controversy’ requirement of Art. III, embodies . . . the political question
20   doctrine[].”).
21           B.       Plaintiffs Lack Standing Because Their Alleged Injuries Are Caused by an
22                    Independent Third-Party, Israel, Over Which the Court Lacks Authority
23           “Federal courts are courts of limited jurisdiction,” and it is therefore “presumed that a cause
24   lies outside this limited jurisdiction” unless a party demonstrates that jurisdiction exists. Kokkonen
25   v. Guar. Life Ins. Co. of Am., 511 U.S. 375, 377 (1994).18 To satisfy the jurisdictional requirement
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             18
                At a minimum, the President is not a proper defendant because the Court lacks
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     “jurisdiction of a bill to enjoin the President in the performance of his official duties,” at least
28   outside of purely ministerial duties. Franklin v. Massachusetts, 505 U.S. 788, 803 (1992) (citation
     omitted).
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1    of standing, Plaintiffs bear the burden of establishing the following three elements: “(1) he or she
2    has suffered an injury in fact that is concrete and particularized, and actual or imminent; (2) the
3    injury is fairly traceable to the challenged conduct; and (3) the injury is likely to be redressed by a
4    favorable court decision.” Salmon Spawning & Recovery All. v. Gutierrez, 545 F.3d 1220, 1225
5    (9th Cir. 2008) (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)). Where the
6    elements of standing “depend[] on the unfettered choices made by independent actors not before
7    the courts and whose exercise of broad and legitimate discretion the courts cannot presume to
8    control or to predict,” standing “is not precluded, but it is ordinarily substantially more difficult to
9    establish.” Lujan, 504 U.S. at 562 (citation omitted). In such circumstances “causation and
10   redressability ordinarily hinge on the response of . . . [a] third party to the government[’s] action
11   or inaction.” Id. Courts have been particularly “reluctant to endorse standing theories that require
12   guesswork as to how independent decisionmakers will exercise their judgment.” Clapper v.
13   Amnesty Int’l USA, 568 U.S. 398, 413 (2013). The burden is on the plaintiff to allege facts
14   sufficient to show that the third party’s behavior is causally linked to the government’s conduct
15   and “permit[s] redressability of injury.” Lujan, 504 U.S. at 562. Plaintiffs have not done so here.
16          Israel, a sovereign nation, is an independent actor not before the Court. While the United
17   States is providing military assistance and other support to Israel, it does not control Israel’s
18   military operations. See, e.g., Compl. ¶¶ 226-27 (quoting statements of the Pentagon’s Deputy
19   Press Secretary Sabrina Singh indicating that the United States is not directing Israel’s ground
20   operations). Plaintiffs have not shown that their alleged injuries are fairly traceable to the United
21   States’ provision of military, financial, or diplomatic support to Israel. Salmon Spawning, 545
22   F.3d at 1228 (noting the lack of traceability where even if the U.S. withdrew from an international
23   agreement, the plaintiff could still be injured by the independent acts of another country). More
24   importantly, even if the Court were to order the United States to withdraw such support, there is
25   no indication that such an order would change Israel’s military operations in a way that would
26   redress Plaintiffs’ alleged injuries. Cf. Bernstein, 962 F. Supp. 2d at 130 (“The Executive Branch
27   has decided that the provision of foreign aid [to Palestinian organizations] encourages the peace
28
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1    process and . . . Plaintiffs’ disagreement . . .with this policy and their belief that a change in policy
2    would [remedy the asserted harm] . . . is, at best, mere speculation.”).
3            Indeed, courts “have been particularly reluctant to find standing where the third party upon
4    whose conduct redressability depends is a foreign sovereign.” Cierco v. Mnuchin, 857 F.3d 407,
5    419 (D.C. Cir. 2017).19 For example, in Republic of Marshall Islands v. United States, 79 F. Supp.
6    3d 1068 (N.D. Cal. 2015) (White, J.), aff’d, 865 F.3d 1187 (9th Cir. 2017), in which, as discussed
7    above, the plaintiffs sought to compel the United States’ compliance with the Non-Proliferation
8    Treaty, this Court found it could not redress the plaintiffs’ alleged injury by compelling the
9    performance of “only one nation to the Treaty”; that is, it could not fashion any meaningful decree
10   that could “account for the participation of all of the nuclear and non-nuclear states that are parties
11   to the Treaty but are not parties to this suit.” Id. at 1072. The same is true here. Israel is an
12   independent sovereign that is not a party before this Court. The Court cannot fashion a remedy
13   that could redress Plaintiffs’ alleged injuries. Accordingly, Plaintiffs lack standing to pursue their
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                See, e.g., Talenti v. Clinton, 102 F.3d 573, 577-78 (D.C. Cir. 1996) (dismissing action
18   seeking to suspend aid to Italy given the possibility that Italy might respond in a way that would
     not redress the plaintiff’s alleged injury); Greater Tampa Chamber of Com. v. Goldschmidt, 627
19   F.2d 258, 263 (D.C. Cir. 1980) (holding that plaintiffs lack standing to challenge the validity of an
     international agreement between the United States and another foreign sovereign regarding air
20   travel where no order could force the other nation to agree to terms that would redress plaintiffs’
     injuries); Indigenous People of Biafra v. Blinken, 639 F. Supp. 3d 79, 87 (D.D.C. 2022) (noting
21
     difficulty of finding redressability when the dispute involves “independent actors” who are
22   “foreign sovereigns over whom the Court exercises no authority”); Fryshman v. U.S. Comm’n for
     Pres. of Am.’s Heritage Abroad, 422 F. Supp. 3d 1, 8 (D.D.C. 2019) (“Federal courts are simply
23   not well-suited to draw the types of inferences regarding foreign affairs and international responses
     to U.S. policy that Plaintiffs’ theory of causation posits.” (citation omitted)); Do Thi Tran v. U.S.
24   Dep’t of State, Civ. A. No. 13-646, 2014 WL 1877414, at *4 (E.D. La. May 9, 2014) (“[I]t is mere
     speculation to assume that a court order halting aid [to Vietnam] . . . would assist in resolution of
25
     Plaintiffs’ land disputes.”); Bernstein, 962 F. Supp. 2d at 129-30 (“It is nothing more than
26   conjecture to argue that changing U.S. funding policies [for the Palestinian people] will reduce
     terrorism or plaintiffs’ subjective fears.”); and Betteroads Asphalt Corp. v. United States, 106 F.
27   Supp. 2d 262, 267 (D.P.R. 2000) (“[T]he possibility that Plaintiff would recover its debt from the
     Government of the Dominican Republic if the United States withheld foreign assistance is too
28   speculative to support standing.”).
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1    claims. See also Republic of Marshall Islands, 865 F.3d at 1119 (finding the plaintiffs’ asserted
2    injuries were not redressable because the cited treaty was not self-executory).20
3    III.        PLAINTIFFS’ CLAIMS FAIL AS A MATTER OF LAW
4           Plaintiffs assert claims under Articles I and III(e) of the Genocide Convention and the
5    Genocide Convention Implementation Act. 18 U.S.C. §§ 1091 et seq., see Compl. ¶¶ 313-40
6    (Counts I & II). And while Plaintiffs do not explicitly allege a separate cause of action for
7    violations of “customary international law” prohibiting genocide, they appear to raise the specter
8    of such a claim. See id. ¶¶ 278-312, 313 & Prayer for Relief.
9           “[C]ustomary international law,” however, “is not a source of judicially enforceable private
10   rights.” Serra v. Lappin, 600 F.3d 1191, 1197 (9th Cir. 2010) (citing Princz v. Fed. Republic of
11   Germany, 26 F.3d 1166, 1174 n.1 (D.C. Cir. 1994) and Sosa v. Alvarez-Machain, 542 U.S. 692,
12   720 (2004)). As for the Genocide Convention, it is not a source of a privately enforceable right.
13   Courts have “‘long recognized the distinction between treaties that automatically have effect as
14   domestic law, and those that . . . do not by themselves function as binding federal law’ enforceable
15   in domestic courts.” Republic of Marshall Islands, 865 F.3d at 1192 (quoting Medellin v. Texas,
16   552 U.S. 491, 505 (2008)). The former is referred to as a self-executing treaty. Serra, 600 F.3d
17   at 1197; Medellin, 552 U.S. at 505. The latter “requires congressional action via implementing
18   legislation or, in some cases, is addressed to the executive branch.” Republic of Marshall Islands,
19   865 F.3d at 1192. Notably, “[i]f the treaty calls for the signatory nations to enact legislation
20   implementing the agreement, the treaty is considered executory and no private rights are conferred
21   by it.” Hanoch Tel-Oren v. Libyan Arab Republic, 517 F. Supp. 542, 547 (D.D.C. 1981)), aff’d,
22   726 F.2d 774 (D.C. Cir. 1984); see Republic of Marshall Islands, 865 F.3d at 1194.
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            20
                In addition, the individual plaintiffs who are not currently in the Gaza Strip—Waeil
24   Elbhassi, Mohammad Herzallah, A.N., Laila Elhaddad, and Basim Elkarra, Compl. ¶¶ 25–29—
     have not alleged that they face an imminent future threat of harm to themselves. Rather, they
25
     allege that they fear for the safety of their family in Gaza. Id. The absence of an “an allegation of
26   personal injury” to themselves, strips these plaintiffs of both constitutional and third-party
     standing. Coal. of Clergy, Laws., & Professors v. Bush, 310 F.3d 1153, 1163 (9th Cir. 2002); see
27   also Fleck & Assocs., Inc. v. Phoenix, 471 F.3d 1100, 1105 (9th Cir. 2006) (noting that to overcome
     the prudential rule against asserting third-party rights, a litigant must “already [meet] the
28   constitutional requirements” of “alleg[ing] a cognizable personal injury”).
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1           Here, Article V of the Convention requires the enactment of “the necessary legislation to
2    give effect to the provisions of the [ ] Convention.” Genocide Convention, art. V, 78 U.N.T.S. at
3    280. The U.S. Senate conditioned its advice and consent to the ratification of the Convention on
4    the enactment of the “implementing legislation referred to in Article V.” 132 Cong. Rec. 2295,
5    2350 (1986). The Senate’s statement “was intended to ‘reinforce[] the fact that the Convention is
6    not self-executing.’” Demjanjuk v. Meese, 784 F.2d 1114, 1117 (D.C. Cir. 1986) (quoting Staff of
7    Senate Comm. on Foreign Relations, 99th Cong., 1st Sess., Report on Genocide Convention 26
8    (Comm. Print 1985)); see generally Republic of Marshall Islands, 865 F.3d at 1197 (noting the
9    significance of the President and the Senate’s intentions regarding the self-executing nature of a
10   treaty’s provisions). Accordingly, Plaintiffs cannot assert any claim under the Convention itself.
11          Congress did enact the Genocide Convention Implementation Act of 1987, 18 U.S.C.
12   §§ 1091 et seq., which “attach[es] criminal penalties to the norm against genocide.” Sosa, 542
13   U.S. at 749. But federal criminal law can only be enforced by the Executive Branch, United
14   States v. Texas, 599 U.S. 670, 678 (2023), and private litigants lack standing to enforce it, Linda
15   R.S. v. Richard D., 410 U.S. 614, 619 (1973). As to civil actions brought under the Act,
16   Congress stated explicitly that “[n]othing in this chapter shall be construed as . . . creating any
17   substantive or procedural right enforceable by law by any party in any proceeding.” 18 U.S.C.
18   § 1092. See also Sosa, 542 U.S. at 748–49 (Scalia, J., concurring in part) (noting that in enacting
19   the Genocide Convention Implementation Act, Congress and the Executive made the
20   determination that the “norm [against genocide] should not give rise to a private cause of
21   action”). Accordingly, courts have consistently held that the Act provides no private right of
22   action. See, e.g., Snyder v. Chi. Transit Auth., No. 22 CV 6086, 2023 WL 7298943, at *4 (N.D.
23   Ill. Nov. 6, 2023); Hughes v. United States, Civ. A. No. 2:19-cv-00037, 2020 WL 4196459, at *4
24   (S.D. W. Va. May 11, 2020); Nietzche v. Freedom Home Mortg. Corp., Case No. 3:18-cv-1930,
25   2019 WL 5057174, at *6 (D. Or. Oct. 8, 2019), aff’d, 2023 WL 2570417 (9th Cir. Mar. 20,
26   2023); and Manybeads v. United States, 730 F. Supp. 1515, 1521 (D. Ariz. 1989).
27           Because Plaintiffs’ claims fail as a matter of law, the Complaint should be dismissed under
28   Fed. R. Civ. P. 12(b)(6). Indeed, the U.S. District Court for the Middle District of Florida recently
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1    dismissed, sua sponte and with prejudice, a nearly identical case on the basis that the complaint in
2    that case failed to “state a valid, nonfrivolous claim for relief that is plausible on its face.”
3    Endorsed Order, Muslim Citizens of the State of Israel v. United States, No. 8:23-cv-2697 (M.D.
4    Fla. Nov. 27, 2023), ECF No. 3 (attached as Ex. B).
5    IV.    THE BALANCE OF EQUITIES TIPS AGAINST ISSUANCE OF AN INJUNCTION
6           Because Plaintiffs’ claims fail as a matter of law, the Court should dismiss the Complaint
7    and deny the preliminary injunction motion. But even if the Court is not inclined to dismiss the
8    Complaint, Plaintiffs have not demonstrated a substantial likelihood of success on the merits,
9    which is a “threshold inquiry,” and accordingly, the Court “need not examine the remaining three”
10   injunction factors under Winter. Garcia, 786 F.3d at 740 (quoting Ass’n des Eleveurs de Canards
11   et d’Oies du Quebec v. Harris, 729 F.3d 937, 944 (9th Cir. 2013)). Citing a pre-Winter, D.C.
12   Circuit decision, Plaintiffs argue that “a motion for preliminary injunction cannot fail as a matter
13   of law if the prospective harm is sufficiently grave, even in cases in which success on the merits
14   is ‘far from clear.’” PI Br. at 7 (quoting Belbacha v. Bush, 520 F.3d 452, 459 (D.C. Cir. 2008)).
15   That is not the law of this circuit, nor is it a correct recitation of the law of the D.C. Circuit. See
16   Sherley v. Sebelius, 644 F.3d 388, 393 (D.C. Cir. 2011) (“[W]e read Winter at least to suggest if
17   not to hold ‘that a likelihood of success is an independent, free-standing requirement for a
18   preliminary injunction.’” (quoting Davis v. Pension Benefit Guar. Corp., 571 F.3d 1288, 1296
19   (D.C. Cir. 2009)).
20          In any event, the balance of equities tips against issuance of a preliminary injunction here.
21   Nken v. Holder, 556 U.S. 418, 435 (2009) (the balance of harms and public interest factors “merge
22   when the Government is the opposing party”). The public and the Government have a strong
23   interest in maintaining the constitutional separation of powers under which the Judiciary is
24   restrained “from inappropriate interference in the business of the other branches of Government.”
25   United States v. Munoz-Flores, 495 U.S. 385, 394 (1990). While the loss of civilian lives on both
26   sides of the conflict is tragic, the Constitution has assigned to the political branches the
27   responsibility of determining the United States’ foreign policy regarding the conflict, including
28   whether to provide military, financial or diplomatic support to Israel and under what
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1    circumstances. “[T]he propriety of what may be done in the exercise of this political power is not
2    subject to judicial inquiry or decision,” First Nat’l City Bank v. Banco Nacional de Cuba, 406 U.S.
3    759, 766 (1972) (citations omitted). Accordingly, issuing the requested preliminary injunction in
4    the circumstances here, which effectively would grant final relief to Plaintiffs, is decidedly against
5    the public and government interest.
6                                              CONCLUSION
7           For the foregoing reasons, the Court should grant Defendants’ motion to dismiss and deny
8    Plaintiffs’ motion for a preliminary injunction.
9

10   Dated: December 8, 2023                               Respectfully submitted,
11
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1                                   CERTIFICATE OF SERVICE
2           I hereby certify that on the 8th day of December, 2023, I electronically transmitted the
3    foregoing document to the Clerk of the Court using the ECF system for filing.
4

5    Dated: December 8, 2023                     /s/ Jonathan D. Kossak
                                                 JONATHAN D. KOSSAK
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